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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

 UNITED STATES OF AMERICA
                                                   No. 20 CR 299
              v.
                                                   Judge Robert M. Dow. Jr.
 HARDY LEE BROWNER

                   GOVERNMENT’S UNOPPOSED
             MOTION FOR ENTRY OF PROTECTIVE ORDER
           REGARDING GENERAL AND SENSITIVE DISCOVERY

      Pursuant to Fed. R. Crim. P. 16(d), the United States of America, by JOHN R.

LAUSCH, Jr., United States Attorney for the Northern District of Illinois, files its

unopposed motion for the entry of a protective order regarding general and sensitive

discovery material, and in support thereof states as follows:

      1.     The indictment in this case charges defendant with knowingly and

willfully making a materially false, fictitious, and fraudulent statement and

representation involving international terrorism to the FBI, in violation of Title 18,

United States Code, Section 1001(a)(2).

      2.     The discovery to be provided by the government in this case includes

sensitive information, whose unrestricted dissemination could adversely affect the

privacy interests of third parties.

      3.     The government has discussed the proposed protective order with

counsel for defendant, who does not oppose the entry of the proposed order.
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      WHEREFORE, the government respectfully moves this Court to enter the

proposed protective order regarding general and sensitive discovery material.

                                      Respectfully submitted,


                                      JOHN R. LAUSCH, Jr.
                                      United States Attorney

                                By:   /s/ Barry Jonas
                                      BARRY JONAS
                                      JORDAN MATTHEWS
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Dated: June 24, 2020




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